
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1566

                                  MICHELLE LEGAULT,

                                Plaintiff - Appellee,

                                          v.

                        ALAN ZAMBARANO, AND TOWN OF JOHNSTON,

                               Defendants - Appellees.

                                 ____________________

                                   RALPH R. ARUSSO,

                                Defendant - Appellant.

                                 ____________________

          No. 96-1567

                                  MICHELLE LEGAULT,

                                Plaintiff - Appellee,

                                          v.

                RALPH R. ARUSSO, ALAN ZABARANO, AND TOWN OF JOHNSTON,

                               Defendants - Appellees.

                                 ____________________

                                 THOMAS A. DILUGLIO,

                                      Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Paul J. Barbadoro, U.S. District Judge]
                                             ___________________

                                 ____________________















                                        Before

                           Cyr and Boudin, Circuit Judges,
                                           ______________

                             and Ponsor,* District Judge.
                                          ______________

                                _____________________

               Jeffrey S.  Michaelson, with  whom Julius C.  Michaelson and
               ______________________             _____________________
          Michaelson  &amp; Michaelson  were on brief  for appellants  Ralph R.
          ________________________
          aRusso and Thomas A. DiLuglio.
               G. Robert Blakey,  with whom Ina P. Schiff  was on brief for
               ________________             _____________
          appellee Michelle Legault.



                                 ____________________

                                   January 28, 1997
                                 ____________________





























                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.

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                    PONSOR,  District Judge.   This  appeal challenges  the
                    PONSOR,  District Judge.
                             ______________

          propriety  of   the  district  court's  imposition   of  monetary

          sanctions  upon  the  defendant-appellant  Ralph aRusso  and  his

          attorney Thomas DiLuglio for violations of Fed. R. Civ. P. 11, 16

          and 26, committed during  pretrial proceedings in this employment

          discrimination case.  Finding no error, we affirm.

                                    I.  BACKGROUND
                                    I.  BACKGROUND
                                        __________

                    In  May  of  1993  plaintiff-appellee  Michelle Legault

          brought  suit against  the town  of Johnston,  Rhode Island,  its

          mayor  at  the  time, Ralph  aRusso,  and  its  fire chief,  Alan

          Zambarano,  contending that the  defendants discriminated against

          her based  on her  gender when  she applied for  a position  as a

          firefighter.   On February 10, 1994 the district court found that

          Legault was likely to  prevail and that inaction would  cause her

          irreparable  harm.  Based on this, the court issued a preliminary

          injunction  requiring  the defendants  to hire  her.   Legault v.
                                                                 _______

          aRusso, 842  F. Supp. 1479 (D.N.H.  1994).  On April  5, 1995 the
          ______

          case  settled when  the  district judge  signed  a consent  order

          awarding  Legault judgment  against  the town  for violations  of

          Title  VII, 42  U.S.C.    1983  and  two Rhode  Island  statutes.

          Subsequently,  the  town  paid  Legault's  reasonable  costs  and

          attorney's fees.

                    In April 1994, following the preliminary injunction but

          before the  consent order, Legault  filed a motion  for sanctions

          against aRusso,  Zambarano  and their  attorney Thomas  DiLuglio.

          The district court heard evidence on the motion over two days and


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          on December 30, 1994  allowed the motion, in part,  ordering that

          the  three each  be held  responsible for  one-third of  the fees

          necessitated by their misconduct during discovery.  

                    On  March  29,  1996,  following  the  settlement,  the

          district judge denied a motion to reconsider his sanctions ruling

          and  set the  monetary  penalty in  the  amount of  $16,450.   He

          ordered  that each of the  three parties be  responsible for one-

          third of this sum.  The court gave the town of Johnston the right

          to recover  from the three  any part of  the fee already  paid to

          Legault but caused by their wrongdoing.    

                    DiLuglio and aRusso now claim  that both the finding of

          misconduct  and  the award  of the  fees  constituted error  as a

          matter of law and  an abuse of discretion.  Neither Zambarano nor

          the town of Johnston has  appealed either the sanctions  decision

          or the judgment of discrimination.

                                   II.  DISCUSSION
                                   II.  DISCUSSION
                                        __________

                    A challenge  to a trial judge's  exercise of discretion

          in these circumstances carries an  especially heavy burden.  Over

          twenty  years  ago  the  Supreme  Court  sharply  underlined  the

          importance of  supporting a  trial  court's decisions  concerning

          sanctions,  even  where  the  judge imposed  the  most  stringent

          sanction,  outright dismissal,  for  misconduct  in the  pretrial

          phase of a case.   National Hockey League v.  Metropolitan Hockey
                             ______________________     ___________________

          Club,  Inc.,  427  U.S.  639,  642-43  (1976).    This  circuit's
          ___________

          decisions have been entirely  consistent with the Supreme Court's

          directive.   See, e.g., Spiller v. U.S.V. Laboratories, Inc., 842
                       ___  ____  _______    _________________________


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          F.2d 535, 537 (1st Cir. 1988); Damiani v. Rhode Island Hosp., 704
                                         _______    __________________

          F.2d  12,  17  (1st  Cir.  1983).    In  this  legal  medium  the

          appellants' thin claims of abuse dissolve almost upon scrutiny.

                    As a threshold matter, appellants contend that appellee

          lacks "standing to participate" in this appeal.  This argument is

          offered  on the ground that  the district court  ordered that the

          $16,450  sanction be  paid  as a  reimbursement  to the  town  of

          Johnston, and not to Legault, to the extent that the town's prior

          payment  of   fees  to  Legault  covered   work  necessitated  by

          appellants'  misconduct.   The town of  Johnston, they  appear to

          claim,  and not  Legault,  is the  proper  party to  oppose  this

          appeal, and it has chosen not to do so.

                    This  is  a meaningless  quibble.   The  issue  on this

          appeal  is not the identity  of the proper  appellee, but whether

          the district  court abused  its discretion in  awarding sanctions

          against the appellants.   Legault,  in fact, has  an interest  in

          this appeal  because  the appellants seek, among other  things, a

          ruling from this court that the district judge erred in declining

          to impose sanctions on Legault herself.  

                    Moreover, even  if she lacked  a personal stake  in the

          outcome, this court would hear Legault as an amicus curiae.  This
                                                       _____________

          is certainly  not a case, if  any such cases there  be, where (as

          appellants' argument implies) a  trial court's valid order should

          be vacated without consideration of its merits simply because the

          party opposing the appeal lacks technical  eligibility to offer a

          contest.  


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                    Moving beyond this preliminary  argument, then, we must

          address the four instances of misconduct that the district judge,

          after considering several  possible grounds,  found justified  an

          award of sanctions.



                    A.  Violation  of  Fed. R.  Civ.  P.  26(g)  Re: Hiring
                    A.  Violation  of  Fed. R.  Civ.  P.  26(g)  Re: Hiring
                        ___________________________________________________

          Process.
          Process.
          ________

                    A   detour   into   the  merits   of   the   underlying

          discrimination case is necessary in order to understand the basis

          for the trial court's action.  

                    Although allegations of  intentional discrimination  --

          i.e.,  discriminatory treatment  --  were included  in  Legault's
          ____

          complaint as originally filed, the early stages of the litigation

          focused  on  plaintiff's  alternative  claim   of  discriminatory

          impact.   She contended that  the three-part testing  process for
          ______

          new firefighters in Johnston had the effect, not justified by any

          fair  rationale,   of  excluding  women  from   hiring.    During

          discovery,  and  in  opposition  to the  motion  for  preliminary

          injunction, defendants contended that the testing process,  which

          included rigorous  physical trials, was fair  and reasonable and,

          further, that they actually followed it as an objective basis for

          determining who would  get on  the fire department.   Both  sides

          pursued  this issue  with  energy at  the preliminary  injunction

          hearing, generating  testimony of an expert and thirteen pages in

          the federal supplement devoted  almost solely to disparate impact

          analysis.  Legault v. aRusso, 842 F. Supp. 1479 (D.N.H. 1994).
                     _______    ______


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                    This whole exercise, as  the district court later found

          and as the defendants now do not contest, was a complete waste of

          time. Performance on these supposedly objective tests bore little

          or no relation to an applicant's chances of getting a  job on the

          Johnston fire department.  Hiring decisions were,  in fact, based

          on undisclosed, subjective criteria  within the discretion of the

          defendants.     The  town's  impressive  edifice  of  purportedly

          objective, multi-stage testing was  ultimately acknowledged to be

          a mirage -- in the words of the district judge, "a sham." 

                    Nevertheless,  in  answers  to  interrogatories  served

          before  the ruse was exposed, aRusso, assisted by DiLuglio as his

          attorney, stated that performance  on the tests determined hiring

          rank.     Judge  Barbadoro  found  that   these  false  responses

          constituted  a flat violation  of Fed  R. Civ.  P. 26(g)(2).   It

          cannot remotely be said that he abused his discretion in reaching

          this conclusion. 

                    Rule  26(g)(2) requires  that every  discovery response

          bear  the signature of the  attorney, certifying "to  the best of

          the signer's  knowledge, information  and belief, formed  after a

          reasonable  inquiry" that  the response  is "(A)  consistent with

          these rules . . . ;  (B) not interposed for any improper purpose,

          such as to harass or cause unnecessary delay . . . ; and  (C) not

          unreasonable . . . ."1
                              
          ____________________

          1  Judge Barbadoro applied the  civil rules as they existed prior
          to the 1993 amendments since the misconduct occurred before their
          effective date, out of  concern that application of the  rules in
          their later  form might be unfair to the defendants.  For ease of
          reference,  because we  perceive no  unfairness, and  because the

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                    Defendants' responses, the court could well have found,

          failed  all  three  of these  tests.    Either  as  a  result  of

          deliberate intent, or gross negligence in failing to inquire into

          the real  facts, the  discovery responses were  inconsistent with

          the rules, were  interposed to  harass and cause  delay and  were

          unreasonable.

                    Our conclusion that the  trial judge did not  abuse his

          discretion  on  these facts  is not  intended  to suggest  that a
                          _____

          litigant  and   his  attorney  expose  themselves   to  discovery

          sanctions every time their  position ultimately fails to convince

          a  court, or even  where it enjoys  only very weak  support.  The

          trial court found something here of an entirely  different order.

          The  initial position  of  the town  and  its officials  was,  in

          essence, a hoax perpetuated through their discovery responses and

          eventually conceded.   This  misconduct caused  substantial delay

          and expense.  Behavior of this sort may rightly be  found to call

          for action by the trial judge.

                    Fed. R. Civ. P. 26(g)(3) states as follows.

                      If  without   substantial  justification  a
                    certification  is made  in  violation of  the
                    rule, the court, upon  motion or upon its own
                    initiative,  shall impose upon the person who
                    made  the certification,  the party  on whose
                    behalf the disclosure, request,  response, or
                    objection  is made,  or both,  an appropriate
                    sanction, which  may include an  order to pay
                    the   amount   of  the   reasonable  expenses
                    incurred because of the  violation, including
                    a reasonable attorney's fee.

                              
          ____________________

          outcome  of this  appeal would  not change,  we have  applied the
          rules in their current form.

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                    In this case the trial judge apportioned responsibility

          for  the sanction equally between the lawyer and the parties, and

          limited the penalty to the fees reasonably expended by Legault in

          pursuing  her motion  for sanctions.   Moreover,  the plaintiff's

          requested sanction  was carefully  trimmed to eliminate  what the

          court   found  to  be  excessive  time.    A  more  moderate  and

          painstaking  approach to  the issue is  hard to imagine.   At the

          risk of repetition, no abuse of discretion occurred.



                    B.  Violation of  Fed.  R.  Civ.  P. 11  Re:  Selection
                    B.  Violation of  Fed.  R.  Civ.  P. 11  Re:  Selection
                        ___________________________________________________

          Process.
          Process.
          ________

                    On  August  13, 1993,  three  days  before the  initial

          hearing on Legault's motion for preliminary injunction before the

          Magistrate  Judge, Attorney  DiLuglio sent  a letter  to opposing

          counsel,  which  he copied  to the  court.   This  letter stated,

          falsely, that "[s]tandings in the obstacle course and the written

          exam determine overall standings in the application process."

                    Fed. R. Civ. P.  11, which parallels Rule 26(g)  in all

          pertinent  respects for  purposes  of this  decision, applies  to

          "[e]very pleading,  written motion and other  paper" presented to

          the court.  Without contesting the falsity of  the representation

          made in the August  13, 1993 letter, DiLuglio argues that  it was

          an abuse  of discretion for the trial judge to view the letter as

          an "other paper" for purposes of Rule 11.

                    Courts  have been properly  reluctant to characterize a

          letter  generally  as  an  "other  paper"  in  weighing  Rule  11


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          sanctions.  See,  Curley v. Brignoli,  Curley &amp; Roberts,  Assoc.,
                      ___   ______    ____________________________________

          128  F.R.D. 613,  616 (S.D.N.Y.  1989).   In this  case, however,

          DiLuglio  deliberately  copied   his  letter  to  the   presiding

          Magistrate Judge  three  days before  the preliminary  injunction

          hearing with the purpose "to advise the court and all parties" of

          its contents.   He repeated  the substance of  the letter  in his

          memorandum   opposing  the  motion  for  preliminary  injunction.

          Moreover,  the letter's message -- that Legault would have a fair

          chance at getting a job on the fire department if she did well on

          the tests -- actually influenced Magistrate Judge Barry in making

          his recommendation  (later rejected  by the district  court) that

          Legault receive only partial injunctive relief.

                    To  hold under these circumstances that this particular

          letter sails beyond the reach  of Rule 11 would be to  exalt form

          over  substance and  reward the  rankest game-playing.   DiLuglio

          sent  this  letter, the  trial judge  found,  with the  intent to

          influence the  court, at a  time and  in a  manner calculated  to

          insure its  impact.  As it  happened, it did  influence the court

          substantially.  Given this, the imposition of sanctions based  in

          part upon the letter's false contents was no abuse of discretion.



                    C.   Violation   of  Fed.   R.   Civ.   P.  26(g)   Re:
                    C.   Violation   of  Fed.   R.   Civ.   P.  26(g)   Re:
                         __________________________________________________

          Identification of Documents.
          Identification of Documents.
          ____________________________

                    The  trial  judge   found  that   the  defendants   had

          improperly  failed to  produce  four categories  of documents  in

          response to  plaintiff's legitimate discovery  requests: a report


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          by an independent testing  service listing each applicant's score

          on  the written examination; a  list of code  numbers assigned to

          each  applicant who  took the  written exam;  a list  showing the

          actual hiring  rank  of  each applicant  who  took  the  training

          course,  and pleadings in  other civil  rights cases  against the

          town of Johnston.

                    The first three categories of documents, in particular,

          would  have  gone   far  to  uncover  the  speciousness   of  the

          defendants' claim that applicants to the fire department received

          their jobs based  on objective  criteria.  The  court found  that

          each of the four  categories of documents was in  the defendants'

          possession and that a reasonable search would have  located them.

          The  Advisory Committee's Notes to the 1983 amendments to Rule 26

          spell  out  the  obvious:  a  certifying  lawyer   must  make  "a

          reasonable  effort to assure that the client has provided all the

          information and documents available to him that are responsive to

          the discovery demand."   Here, the trial court's finding  that no

          such  effort was made is well supported.  Imposition of sanctions

          under Rule 26(g)(3) constituted no abuse of discretion.  



                    D. Violation of Rule 16. 
                    D. Violation of Rule 16. 
                       _____________________

                    On December 16, 1993 the district court issued an order

          requiring  the  filing  of  all pretrial  material  on  or before

          April 15, 1994.   Defendants,  it is  conceded,  did not  comply.

          Their pretrial submission  arrived over three  weeks late, on  or




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          about  May 9, 1994.  The trial judge based his sanction decision,

          in part, upon this tardiness.

                    Rule 16(f) gives a trial judge faced with  disregard of

          a pretrial order the  power, upon motion or sua  sponte, to "make
                                                      ___________

          such orders with regard thereto as are just, and among others any

          of the orders provided in Rule  37(b)(2)(B), (C), (D)."   In lieu

          of  or in  addition to  this sanction,  the  court may  order the

          offending party to "pay  the reasonable expenses incurred because

          of noncompliance with this rule."

                    Appellants argue that, because the  cited provisions of

          Rule 37 describe non-monetary sanctions, and because the district

          court  made  no  explicit   finding  that  the  defendants'  non-

          compliance  with the  court's pretrial  order caused  Legault any

          expense,  imposition of a  monetary penalty based  (even in part)

          upon their  acknowledged neglect  of the court's  order regarding

          filing of pretrial papers constituted an abuse of discretion.

                    We cannot agree.  The extent to which a party's failure

          to file  pretrial papers in a timely manner puts an opponent into

          an unfair position, by causing unnecessary preparation, confusion

          or distraction, and the translation of this unfairness into a sum

          of  money,  are  tasks  that  must be  left  except  in  the most

          extraordinary circumstances to the good sense of the judge on the

          scene.   

                    Beyond  this  the   trial  judge  has  an   independent

          responsibility to enforce the directives he has laid down for the




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          case.   This court  has made this  point before  in the  clearest

          terms.

                       Rules are rules  -- and  the parties  must
                    play  by them.   In  the final  analysis, the
                    judicial  process  depends  heavily   on  the
                    judge's   credibility.      To  ensure   such
                    credibility,  a district judge  must often be
                    firm   in   managing   crowded  dockets   and
                    demanding  adherence to  announced deadlines.
                    If  he or  she  sets a  reasonable due  date,
                    parties  should  not be  allowed  casually to
                    flout   it  or   painlessly  to   escape  the
                    foreseeable consequences of noncompliance.

          M ndez v. Banco  Popular de Puerto Rico, 900 F.2d  4, 7 (1st Cir.
          ______    _____________________________

          1990).

                    Here  the judge's prudent  assessment of  the situation

          fairly  jumps out of  the record.   We cannot say  that including

          defendants' conceded disregard of his pretrial order into the mix

          of  factors that brought him to the figure of $16,450 constituted

          an abuse of discretion.  

                    Finally, given the ample justification for the award of

          sanctions against appellants,  the district  court certainly  did

          not abuse  its discretion in  declining to impose  sanctions upon

          Legault  herself.    While  her  sanction  motion  may  have been

          overbroad,  the  core  of her  grievance  was  found  to be  well

          supported.

                                   III.  CONCLUSION
                                   III.  CONCLUSION
                                         __________

                    In  summary, this was  a textbook  job by  the district

          court  in  considering and  imposing  sanctions.   The  offending

          parties were given  clear notice  of the  claimed misconduct  and

          ample  opportunity to be heard.  The judge sorted the unsupported


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          or trivial  violations from the substantial wrongdoing.   He then

          imposed a  sanction crafted  to penalize only  improprieties that

          were  sufficiently egregious  to  warrant a  penalty and  clearly

          supported by the record.  Both the amount and the  targets of the

          sanctions were exactly specified.  There was no error.2

                    Affirmed.
                    ________
































                              
          ____________________

          2   Plaintiff-appellee, though  prevailing, should not  view this
          opinion  as a testament to  the cogency of  her written advocacy.
          Her  brief,  relying  substantially on  overcharged  rhetoric and
          irrelevancy,  is  almost  useless.   It  has  been  rescued by  a
          combination of  the essential  weakness of  appellants' position,
          the  performance of the court below and a dexterous oral argument
          presented by substitute counsel.

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